        18-01637-jlg       Doc 19     Filed 04/12/19    Entered 04/12/19 14:38:37       Main Document
                                                       Pg 1 of 3


        FOLEY & LARDNER LLP
        Katherine R. Catanese
        90 Park Avenue
        29th Floor
        New York, NY 10016-1314
        Telephone: (212) 338-3566
        Facsimile: (212) 687-2329
        Email: kcatanese@foley.com
        Counsel for Panos Seretis

        UNITED STATES BANKRUPTCY COURT
        SOUTHERN DISTRICT OF NEW YORK

          IN RE:

                                                                               Chapter 7
          PANOS PAPADOPOULOS SERETIS
                                                                               Case No. 18-11852-JLG
                                          Debtor.


          YANNIS (IOANIS) BONIKOS, RIGEL SHAHOLLI
          AND DIMITIRIOS OIKONOMOPOULOS,
                                                                               Adv. Pro. No. 18-01637-JLG
                                          Plaintiff,

                                   -against-

          PANOS SERETIS,

                                          Defendant.


           REPLY IN SUPPORT OF MOTION FOR APPROVAL OF SETTLEMENT OF NON-
                       DISCHARGEABILITY ADVERSARY PROCEEDING

                   Panos Seretis (the “Debtor”), by and through his counsel, Foley & Lardner LLP files this

        reply (the “Reply”) in Support of Motion for Approval of Settlement of Non-Dischargeability

        Adversary Proceeding (the “Motion”) (D.E. 314) and states as follows:




4811-5017-5124.1
        18-01637-jlg          Doc 19       Filed 04/12/19        Entered 04/12/19 14:38:37              Main Document
                                                                Pg 2 of 3


                        1. As noted in the Motion, the Debtor has diligently worked with Defendants1 to

               resolve issues relating to sections 523 and 727 as raised in the Complaint. The proposed

               settlement agreement (the “Settlement Agreement”) contemplates a $60,000 cash payment to

               resolve the section 523 portion of the claim (the “Section 523 Cash Payment”). When the

               Debtor filed his Motion, he attached the Settlement Agreement (D.E. #14-1), an affidavit in

               support of the Settlement Motion (the “Affidavit”) (D.E. #14-2), as well as the Attorney’s

               Certification (D.E. #14-3).

                        2. The Trustee insinuates that there is something nefarious going on by the Debtor

               entering into this settlement. First, the Trustee suggests that the Debtor was lying when he

               testified at a deposition that he was the 100 per cent owner of Monaco Group USA because

               his bankruptcy schedules state that he is only a 96 per cent owner. As explained in the

               attached Affirmation in Support (the “Affirmation”), at the time of the deposition, the Debtor

               believed he was testifying about the ownership of Monaco Group USA in 2016, at which

               time he was a 100 per cent owner. Affirmation, ¶ 9. By the time he filled out and filed his

               bankruptcy schedules, he owned only 96% if the shares. Id.

                        3. The Trustee suggests that the Debtor has something to hide by not disclosing the

               identity of his friends who are gifting him the Section 523 Cash Payment. The Trustee has

               never asked for this information and, had he, the Debtor would have provided it. Although

               the Trustee has not provided case law support or otherwise for whether this level of detail is

               required, and Debtor does not concede that it is required, see the attached Affirmation from

               the Debtor explaining that identity of his three friends and now also his brother and the

               rationale for why they are providing him these funds. Affirmation, ¶¶5-8.



        1
            Any term not defined in this motion has the meaning attributed to it in the Settlement Motion.

4811-5017-5124.1
        18-01637-jlg      Doc 19     Filed 04/12/19     Entered 04/12/19 14:38:37         Main Document
                                                       Pg 3 of 3


                    4. The Trustee also argues, again, without support, that the Debtor is not permitted

             to take on additional debt while still in bankruptcy. The Debtor contests this but, in any

             event, it is irrelevant because as both the Affidavit attached to the Motion and the

             Affirmation clearly state, the Section 523 Cash Payment is a gift—the Debtor is not taking on

             more debt. Id.

                    5. The Trustee then argues, again without support, that this Court hold a full

             evidentiary hearing and require each of the Debtor’s friends to testify as to their relationship

             to the Debtor and the source of money that they are using to gift the Debtor. However, this is

             a guaranteed way to prevent the settlement from going forward—these individuals are

             business people and have stressful and exhausting schedules, often including travel, in

             addition to taking care of their families. Affirmation ¶. Requiring them to appear in court to

             testify, where they will likely hire counsel to represent them incurring additional cost and

             expense, will likely cause them to withdraw their offer to gift money to the Debtor and

             destroy any chance at a settlement in this action. Such a burden is not required by the rules

             and is duplicative as the Debtor has affirmed these facts in the Affirmation.

                    6. None of the objections set forth by the Trustee is a basis for denying the

             settlement set forth in the Motion.


        Dated: April 12, 2019                                  Respectfully Submitted,

                                                                /s/ Katherine R. Catanese
                                                                Katherine R. Catanese
                                                                Foley & Lardner - New York
                                                                90 Park Avenue
                                                                New York, NY 10016-1314
                                                                212-682-7474Fax:212-687-2329
                                                                kcatanese@foley.com




4811-5017-5124.1
